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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                          CRIMINAL MINUTES - ARRAIGNMENT
Case Number: 2:17-CR-00260(A)-JAK                      Recorder: CS 06/04/2018                                Date: 06/04/2018

Present: The Honorable Karen L. Stevenson, U.S. Magistrate Judge

Court Clerk: Roxanne Horan-Walker                                      Assistant U.S. Attorney: Lucy Jennings

United States of America v.               Attorney Present for Defendant(s)                 Language                 Interpreter
TREVON MAURICE FRANKLIN,                  SUMMER LACEY
aka Tre-Von M. King                           DFPD
       BOND-PRESENT



PROCEEDINGS: ARRAIGNMENT OF DEFENDANT(S) AND ASSIGNMENT OF CASE .

Defendant is arraigned and states true name is as charged.

Defendant is given a copy of the First Superseding Information.

Defendant acknowledges receipt of a copy and waives reading thereof.

Waiver of Indictment submitted, accepted by the court and filed.

Defendant pleads not guilty to all counts in the First Superseding Information.

This case was previously assigned to the calendar of District Judge John A. Kronstadt.
It is ordered that the following date(s) and time(s) are set:
         Guilty Plea and Setting of all other proceedings 06/07/2018 at 8:30 AM
         Defendant and counsel are ordered to appear before said judge at the time and date indicated.




                                                                                           First Appearance/Appointment of Counsel: 00 : 00
                                                                                                                                 PIA: 00 : 02
                                                                                                      Initials of Deputy Clerk: RHW by TRB




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